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 7                        UNITED STATES DISTRICT COURT
 8                      CENTRAL DISTRICT OF CALIFORNIA

 9   JIM 72 PROPERTIES, LLC,               Case No: 2:15-cv-07543-ODW-FFM
10                    Plaintiff,            ORDER GRANTING DISMISSAL
                                            OF THE ENTIRE ACTION WITH
                                            PREJUDICE
11        v.
12   MONTGOMERY CLEANERS d/b/a
     Montgomery Cleaners & Pressers and
13   Montgomery C H; ROBERT B.
     JASSO; JOHN W. RICH; DORIS L.
14   RICH; FELIPE P. RENDON;
     RENDON PROPERTIES LLC; and
15   DOES 1 through 100, Inclusive,
16                    Defendants.
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 2
           Pursuant to the parties’ Stipulation of Dismissal (ECF No. 41) and Federal Rule
 3
     of Civil Procedure 41(a)(2):
 4         IT IS HEREBY ORDERED that:
           1.    All claims in Plaintiff’s Complaint are hereby DISMISSED WITH
 5
                 PREJUDICE;
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           2.    The Cross-Claim filed by Felipe Rendon and Rendon Properties, LLC is
 7               DISMISSED WITHOUT PREJUDICE;
           3.    The Court retains jurisdiction to enforce the terms and conditions of the
 8
                 parties’ settlement agreement;
 9
           4.    Other than as set forth in the parties’ settlement agreement, each party shall
10               bear their own attorneys’ fees and costs in this action; and
           5.    All dates and deadlines in this action are vacated and taken off calendar.
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           IT IS SO ORDERED.
13         March 5, 2018

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                                         ____________________________________
15
                                                      OTIS D. WRIGHT, II
16                                          UNITED STATES DISTRICT JUDGE

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